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                            IN THE UNITED STATES DISTRICT COURT

                                  FOR THE DISTRICT OF DELAWARE

 ALCON INC., ALCON VISION, LLC, and              )
 ALCON LABORATORIES, INC.,                       )
                                                 )
                    Plaintiffs,                  )
                                                 )
 v.                                              ) C.A. No. 22-1422-WCB
                                                 )
 PADAGIS ISRAEL                                  )
 PHARMACEUTICALS LTD., PADAGIS                   )
 US LLC, and PADAGIS LLC,                        )
                                                 )
                   Defendants.                   )


                                     NOTICE OF SERVICE

         PLEASE TAKE NOTICE that on February 29, 2024, the following documents were

served on knobbe.brimbrinz@knobbe.com the persons listed below in the manner indicated:

      1. Opening Expert Report of Nicholas Ahlemeyer, Ph.D.

      2. Opening Expert Report of William L. Jorgensen, Ph.D.

      3. Opening Expert Report of Steven R. Little, Ph.D.

      4. Opening Expert Report of Dwight R. Stoll, Ph.D.

      5. Opening Expert Report Of George G. Zhanel, Ph.D.

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